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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


GERVIL ST. LOUIS,
                                                    Civ. A. No. 3:13-cv-01132-RNC
              Plaintiff,
                                                    Dated: November 17, 2015
       vs.

DOUGLAS PERLITZ, et al.,

              Defendants.


This document relates to:

All Cases


                            DECLARATION OF THEODORE J. FOLKMAN

       I, Theodore J. Folkman, make the following declaration.

       1.     I represent Fr. Paul E. Carrier, S.J., in connection with the above-captioned case.

I make this declaration on personal knowledge.

       2.     Attached to this Declaration as Exhibit 1 is a true copy of an email exchange

between me and counsel for the plaintiffs on June 12, 2015.

       3.     Attached to this Declaration as Exhibit 2 is a true copy of a document numbered

RBC005519-5521, which Mr. Kendrick’s employer, the Royal Bank of Canada, produced in

response to a subpoena.

       4.      Attached to this Declaration as Exhibits 3, 4 and 5 are true copies of the

documents numbered RBC005498, RBC005323, and RBC005571, which RBC produced in

response to a subpoena.
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         5.     Attached to this Declaration as Exhibit 6 is a true copy of an email sent to me on

April 15, 2014 by Paul Kendrick.

         I declare that the foregoing is true and correct. Executed on November 17, 2015.


                                                             /s/ Theodore J. Folkman
                                                             Theodore J. Folkman


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